       Case 1:23-cv-01004-RP          Document 183        Filed 08/19/24      Page 1 of 9




                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION

BERNHARDT TIEDE, II;                             §
TEXAS PRISONS COMMUNITY                          §
ADVOCATES; BUILD UP, INC. A/K/A                  §
JUSTICE IMPACTED WOMEN’S                         §
ALLIANCE; TEXAS CITIZENS UNITED                  §
FOR REHABILITATION OF ERRANTS;                   §
and COALITION FOR TEXANS                         §
WITH DISABILITIES,                               §
      Plaintiffs,                                §         Civil Action No.:
                                                 §         1:23-CV-01004-RP
v.                                               §
                                                 §
                                                 §
BRYAN COLLIER, in his official capacity          §
as Executive Director of Texas Department        §
of Criminal Justice,                             §
       Defendant.                                §


                    DEFENDANT’S RESPONSE IN OPPOSITION TO
                  INTERVENORS MOTION TO INTERVENE [ECF 180]


       COMES NOW, Defendant Bryan Collier, who hereby files this response in opposition the

motion to intervene filed by TDCJ inmate Sam Wiley. ECF 180. Mr. Wiley has not met the

requirements to intervene, and regardless, his interests are already represented by the existing

associational plaintiffs who seek statewide relief. This Court should decline to exercise its

discretion to permit intervention which would otherwise result in duplicative litigation, prejudice

the existing parties by delaying the proceedings, and waste judicial resources.

                      I. Statement of the Case and Procedural Posture

       This lawsuit is being brought by one individual plaintiff – Bernhardt Tiede, II – and four

associations, seeking relief from what they allege are unconstitutional conditions arising from

extreme heat in Texas prisons. Together, the associational plaintiffs purport to represent all TDCJ

                                                 1
        Case 1:23-cv-01004-RP           Document 183         Filed 08/19/24       Page 2 of 9




inmates currently incarcerated, among others. ECF 57. Associational plaintiffs seek agency wide

relief through the implementation of air condition at all TDCJ units across the state of Texas. The

hearing on Plaintiffs’ request for injunctive relief began on July 30, 2024, and concluded August

2, 2024. Parties are now working on post hearing briefing and drafting findings of fact and

conclusions of law to present to the Court.

       Mr. Wiley, an inmate incarcerated at TDCJ’s Coffield Unit in Tennessee Colony, Texas

seeks to intervene in this matter based on conclusory and unsupported injuries, all premised on the

same subject matter of this suit – heat. In addition to Mr. Wiley’s odd request for the appointment

of a special master, he ostensibly seeks the same relief which the associational plaintiffs are already

requesting from this court- reprieve from the heat within TDCJ prison units.

                                     II. Standards of Review

       Under Rule 24, persons with an interest in ongoing litigation may intervene as a matter of

right or permissively pursuant to a court’s discretion. Fed. R. Civ. P. 24. Regarding the former –

intervention of right – a court must permit anyone to intervene who 1) is given an unconditional

right to intervene by a federal statue, or 2) claims an interest relating to the transaction that is the

subject of the action, and is so situated that disposing of the action may as a practical matter impair

or impede the movant’s ability to protect its interest. Fed. R. Civ. P. 24(a)(1)-(2). Regarding the

latter – permissive intervention – a court may permit intervention to anyone who 1) is given a

conditional right to intervene by a federal statute, or 2) has a claim or defense that shares with the

main action a common question of law or fact. Fed. R. Civ. P. 24(b)(1)(b). In exercising its

discretion, the court must consider whether the intervention will unduly delay or prejudice the

adjudication of the original parties' rights. Fed. R. Civ. P. 24.




                                                   2
        Case 1:23-cv-01004-RP           Document 183         Filed 08/19/24       Page 3 of 9




                                  III. Argument and Authorities

        The analysis of Mr. Wiley’s desired intervention collapses into three questions –

timeliness, and the two secondary considerations of 24(a) and 24(b), because Mr. Wiley has neither

an unconditional nor conditional right to intervention under 24(a)(1) and 24(b)(1)(a) – nor has he

alleged any.

   1.          Mr. Wiley’s Motion is Untimely.

    Mr. Wiley’s motion to intervene is untimely. Four factors in their totality are considered when

determining whether a motion to intervene is made timely: (1) the length of time during which the

would-be intervenor actually knew or reasonably should have known of its interest in the case

before it sought to intervene; (2) the prejudice that existing parties to the litigation may suffer as a

result of the would-be intervenor's failure to apply for intervention as soon as it knew or reasonably

should have known of its interest in the case; (3) the prejudice that the would-be intervenor may

suffer if intervention is denied; and (4) whether unusual circumstances militate for or against a

determination that the application is timely. Heaton v. Monogram Credit Card Bank of Georgia,

297 F.3d 416, 423 (5th Cir. 2002) (citing Edwards v. City of Houston, 78 F.3d 983, 1000 (5th Cir.

1996)). There are no absolute measures of timeliness; it is determined from all the

circumstances. Id.

        The motion states conclusively without any support that Mr. Wiley, because of his medical

conditions and resulting enhanced sensitivity to heat, “have either suffered actual injury” or are

“in imminent danger of suffering” an injury at the Coffield Unit. ECF 180. Mr. Wiley failed to

actually support said propositions with any assertions of medical diagnoses, why any alleged

diagnoses make him heat sensitive, documents reflecting the temperature in Coffield or any other

support of any kind showing the existing heat mitigation measures are insufficient. Instead, Mr.



                                                   3
       Case 1:23-cv-01004-RP             Document 183      Filed 08/19/24      Page 4 of 9




Wiley relies solely on prior TDCJ heat litigation and heat related issues in TDCJ as far back as

twenty-six years ago to six years ago.

       Mr. Wiley does not state either way whether the previous litigation or heat related issues

he referenced impacted him or his unit specifically. Mr. Wiley’s motion provides insufficient

information for the Court to know with any degree of certainty when he actually knew or

reasonably should have known of his interest in this particular case. To the contrary, the motion

suggests Mr. Wiley may have at least been aware of previous heat litigation and heat related

matters which he could have and should have joined. But again, Mr. Wiley has not alleged with

any specificity when his alleged injuries arose.

       Second, adding another plaintiff would be duplicitous, resulting in unnecessary time and

expense for both the Defendant and Plaintiffs. The existing parties would be prejudiced by having

to conduct additional unnecessary discovery. Defendant would need additional time to gather

information and documentation to defend against the additional claims- all of which is unnecessary

when associational plaintiffs purport to represent the entire inmate population and already seek

statewide relief related to the same issue which intervenors claims to be injured by; and if existing

plaintiffs succeed would be relieved from. This point also speaks to the third factor of timeliness

– prejudice to the intervenors.

       Mr. Wiley would not be harmed by being denied intervention in this suit. This Court has

already ruled the association plaintiffs have standing and as they have argued, the associations

purport to represent the entire TDCJ inmate population with respect to the risk heat – not just

medically sensitive inmates, but all inmates and they seek statewide relief which would include

the Coffield Unit. ECF 57. Here, Mr. Wiley claims he has suffered or will suffer injury because of

his sensitivity to heat from medical conditions – the exact type of harm the associations are seeking



                                                   4
        Case 1:23-cv-01004-RP          Document 183         Filed 08/19/24      Page 5 of 9




relief for statewide. Finally, Mr. Wiley is free to file his own lawsuit individually should he so

desire. Thus, not granting intervention in this case does not prejudice the Mr. Wiley but granting

would prejudice the current parties for the reasons stated above. The motions are untimely and

should be denied.

   2. Mr. Wiley has no basis for intervention as a matter of right.

       Intervention as of right under Rule 24(a)(2) is based on four requirements, the first being

timeliness as argued against above. The other three requirements include: (2) the applicant must

claim an interest in the subject matter of the action; (3) the applicant must show that disposition of

the action may impair or impede the applicant's ability to protect that interest; and (4) the

applicant's interest must not be adequately represented by existing parties to the litigation.” United

States v. Franklin Parish Sch. Bd., 47 F. 3d 755, 756 (5th Cir.1995). Here, Mr. Wiley’s application

for intervention fails to satisfy all four requirements of Rule 24(a)(2).

                    i. Mr. Wiley’s interests, to the extent they exist, are already represented.

       Assuming Mr. Wiley has standing and has satisfied the exhaustion requirements of the

Prison Litigation Reform Act, his interests are already represented. The Organizational Plaintiffs

purport to represent all inmates including the intervenors and are seeking statewide relief which

would only stand to benefit Mr. Wiley.

                    ii. Mr. Wiley would only benefit from this suit, even without his
                        participation.

       While Mr. Wiley’s allegations could plausibly state an interest relating to the issues in this

case if construed broadly – the allege substantial risk of serious harm from heat inside Texas’s

prisons – he would not be impaired or impeded in his ability to protect his interest by being denied

intervention. To the contrary, Mr. Wiley is free to pursue his own lawsuit which would then grant

him the opportunity to tailor any awarded relief to his own individualized medical needs. Thus, by

                                                  5
         Case 1:23-cv-01004-RP          Document 183          Filed 08/19/24      Page 6 of 9




not being included in this suit, he still may obtain relief as a result from it, and then continue in his

own suit to get specific relief.

                   iii. Existing associational plaintiffs adequately protect and purportedly
                        represent Mr. Wiley’s interest.

         Again, assuming Mr. Wiley has sufficient standing and an interest in this litigation, the

associational plaintiffs adequately represent his interest. Further, it is the intervenors burden to

show that the associational plaintiffs’ litigation of this matter is inadequate to protect his interest.

Heaton v. Monogram Credit Card Bank of Georgia, 297 F.3d 416, 425 (5th Cir. 2002). Mr. Wiley

has made no such argument.

    3.          Mr. Wiley cannot meet his burden to intervene permissibly.

         Permissive intervention is “committed to the discretion of the court.” United States ex rel.

Hernandez v. Team Fin., L.L.C., 80 F.4th 571, 577 (5th Cir. 2023) (quoting Cameron v. EMW

Women's Surgical Ctr., P.S.C., 595 U.S. 267, 277, 142 S. Ct. 1002, 1010, 212 L. Ed. 2d 114

(2022)). Permissive intervention is allowed when intervenors have a claim that shares with the

main action a common question of law and fact. Fed. R. Civ. P. 24(b)(1)(B). Defendant’s response

to the issue on the intervenors common interest with this litigation is detailed above.

         Overall, the existing plaintiffs purport to adequately represent the interests of the Mr.

Wiley, the Defendant would be prejudiced in having to litigate duplicative claims against an

additional plaintiff at this late stage in the litigation, and Mr. Wiley has not sufficiently alleged an

injury, nor shown he is not represented adequately already. For all these reasons, the Court should

decline to exercise its discretion to permit intervention.




                                                   6
        Case 1:23-cv-01004-RP          Document 183         Filed 08/19/24      Page 7 of 9




   4.           Mr. Wiley lacks standing and/or has failed to demonstrate he has met the
                requirements of the PLRA.

        Mr. Wiley seeks to intervene as named class member. ECF 180. This case is not a class

action and Mr. Wiley needs to demonstrate he has standing and appropriately exhausted his

statutorily required administrative remedies. Mr. Wiley conclusively states he has been or will be

injured due to the Coffield Unit being over 100 degrees at some unspecified time in the past with

the potential for such heat to reoccur at some unspecified time in the future, assuming he is still at

that unit. ECF 180. That is not sufficient to establish standing. Mr. Wiley has not alleged he was

individually housed at the Coffield Unit on the day of the alleged heat incident, whether he was

individually harmed directly from the heat and if so, how so, etc. Instead, Mr. Wiley indicates

generally the Coffield Unit was hot in the past. Mr. Wiley has failed to properly allege any

particularized injuries in fact and a causal connection between the alleged injuries and the issue

complained of. See generally Lujan v. Defs. of Wildlife, 504 U.S. 555, 560–61 (1992) (Plaintiffs

must establish an injury in fact which is (a) concrete and particularized and (b) actual or imminent,

not conjectural or hypothetical. Second, there must be a causal connection between the injury and

the conduct complained of.)

        Regarding exhaustion, the Mr. Wiley cannot escape the exhaustion requirement by jumping

into this case. He has not plead, suggested, nor demonstrated that he has appropriately filed

grievances related to his alleged injuries and medical conditions. 42 U.S.C. § 1997e(a) (No action

shall be brought with respect to prison conditions under [42 U.S.C. § 1983], or any other Federal

law, by a prisoner confined in any jail, prison, or other correctional facility until such

administrative remedies as are available are exhausted.); Huskey v. Jones, 45 F.4th 827, 831 (5th

Cir. 2022) (quoting the Supreme Court in Ross v. Blake, 578 U.S. 632, 642 (2016), noting that “an

inmate ... must exhaust available remedies....) (cleaned up).

                                                  7
       Case 1:23-cv-01004-RP           Document 183       Filed 08/19/24     Page 8 of 9




                                         IV. Conclusion

       For the reasons described herein, Defendant respectfully requests that this Court deny the

motion to intervene.

      Respectfully submitted,

      Ken Paxton                                       Shanna Molinare
      Attorney General of Texas                        Division Chief
                                                       Law Enforcement Defense
      Brent Webster                                    Division
      First Assistant Attorney General
                                                       Abigail Carter
      James Lloyd                                      Attorney-in-charge
      Deputy Attorney General for Civil Litigation     Assistant Attorney General
                                                       Texas State Bar No. 24126376
                                                       Abigail.Carter@oag.texas.gov
      Office of the Attorney General
      P.O. Box 12548                                   /s/ Lauren McGee
      Austin, Texas 78711-2548                         Lauren McGee
      (512) 936-1162                                   Assistant Attorney General
                                                       Texas State Bar No. 24128835
                                                       Lauren.McGee@oag.texas.gov

                                                       Attorneys for Defendant


                           NOTICE OF ELECTRONIC FILING

I, LAUREN MCGEE, certify that on August 19, 2024, I have electronically submitted for filing
a true and correct copy of this pleading.

                                                /s/ Lauren McGee
                                                LAUREN MCGEE
                                                Assistant Attorney General




                                               8
       Case 1:23-cv-01004-RP         Document 183       Filed 08/19/24     Page 9 of 9




                               CERTIFICATE OF SERVICE

       I, LAUREN MCGEE, Assistant Attorney General of Texas, do hereby certify that a true
and correct copy of the above and foregoing has been electronically served by to all counsel of
record and parties, within one business day of August 19, 2024, addressed to the following:

CMRR No. 9589 0710 5270 0138 1523 71
Sam Wiley, TDCJ #1913112
TDCJ-CID Coffield Unit
2661 FM 2054
Tennessee Colony, TX 75884




                                           /s/ Lauren McGee
                                           LAUREN MCGEE
                                           Assistant Attorney General




                                              9
